         Case:
       Case    24-30706    Document: 94Document
            3:24-cv-00517-JWD-SDJ         Page: 1
                                                94 Date Filed: 12/16/2024
                                                    12/12/24     Page 1 of 1




                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA

 REVEREND DARCY ROAKE and                              CIVIL ACTION NO. 3:24-cv-0517
 ADRIAN VAN YOUNG, on behalf of
 themselves and on behalf of their minor
 children, A.V. and S.V., et al.                       JUDGE:
                                                       JOHN W. DEGRAVELLES
 VERSUS

 CADE BRUMLEY, in his official                         MAGISTRATE JUDGE:
 capacity as the Louisiana State                       SCOTT D. JOHNSON
 Superintendent of Education, et al.


                                    NOTICE OF APPEAL

        Pursuant to Federal Rule of Appellate Procedure 3(a), Defendant Orleans Parish School

Board (“Defendant”) hereby appeals to the United States Court of Appeals for the Fifth Circuit the

Court’s November 12, 2024 Ruling and Order (Rec. Doc. 86) denying Defendant’s Motion to

Dismiss (Rec. Doc. 38) and granting Plaintiffs’ Motion for Preliminary Injunction (Rec. Doc. 20).



                                              Respectfully submitted,

                                              PHELPS DUNBAR LLP

                                              BY:    /s/ Dan Zimmerman
                                                    Rebecca Sha (Bar #35317)
                                                    Dan Zimmerman (Bar #2202)
                                                    Canal Place | 365 Canal Street, Suite 2000
                                                    New Orleans, Louisiana 70130
                                                    Telephone: 504 566 1311
                                                    Facsimile: 504 568 9130
                                                    Email: rebecca.sha@phelps.com
                                                    Email: zimmermd@phelps.com

                                              ATTORNEYS FOR DEFENDANT
                                              ORLEANS PARISH SCHOOL BOARD




PD.47800083.1
